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AO 91 (Re\/, 08/()9) Crinnnal Coinplaint HLED

UNITED STATES DistR_tCT CoURT “~WN §§ 23’*3

for the

 

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Southern Dlstnct of Texas .
United States of America )
V. ) _.
) CaseNo. M-*/g'/`BZ§ M
orisuan cumeer BAUT:STA‘REYES )
DOB: 1995 Citizenship: I\/lexico §
Defendam(s)
CRIMINAL COMPLAINT

l, the complainant in this ease, state that the following is true to the best of my knowledge and belief

 

 

On or about the date(s) ot June 27, 2018 in the county of Hida|go in the
,,,,, Southem Disti‘iet of _~Mlgxas , the defendant(s) violated:
C()de Secfion Ojj”ense Descrl`ptz`on
21 U.S.C.v § 841(3)(1) Possession VVith lntent to Distribute a Contro!led Substance/Approximateiy

75.14 Kilograms of Coeaine, a Schedule ll Control|ed Substance_

21 U.S.C. § 952 |llega| |mportation of a Contro||ed Substance/Approxlmater/Approximate|y
75.14 Ki|ograrns of Cocaine, a Schedule- ll Contro|led Substance.

This criminal complaint is based on these facts:

SEE ATT/-\CHl\/lENT "A"

‘/ Continued on the attached sheet

Comp[az`nam ’S signature

/:`5' Jesus Pa|omo HSl Special Aqent
' ` N_) Pf'infed name and title
` .

SWorn to before me and signed in my presence

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§ . a |*\~ ' Judge’s signature "’:_ v ja

City and State: »I\/leAl|en, Texas U.S. I\/|agistrate Judge Peter C. Ormsby

Printed name and title

 

 

 

 

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Attachment A y

The purpose of this affidavit is in support of a complaint to arrest Cristian Guillerrno
BAUTISTA-Reyes, a Mexican National, for violations of 21 USC 841(a)(1) (Possession
with intent to Distribute a Controlled Substance) and 21 USC 952 (Illegal lmportation of
Controlled Substance). The information in this affidavit is based on personal knowledge
and information provided to me by other law enforcement officers and individuals The
information in this affidavit is provided for the limited purpose of establishing probable
cause The information is not a complete statement of all the facts related to this case.

On June 27, 2018, defendant Cristian Guillermo BAUTISTA-Reyes entered the United

States through the Progreso, Texas Port of Entry operating a 2005 lnternational tractor

bearing l\/lexico license plates 12131\/16A3 which was pulling a flatbed empty trailer

bearing MeXico plate number A1025N. The tractor was registered to Edelmiro Melendez
` Herebia.

At the Progreso Port of Entry, BAUTISTA presented a 131/132 visa border crossing card,
along with paperwork describing the empty trailer that he was bringing into the United
States to Customs and Border Protection (CBP) officers

As BAUTISTA and his vehicle approached the Point of Entry, Customs and Border
Protection (CBP) Officers reported that BAUTISTA started to drive the tractor trailer in a
“jolting” manner This led the officers to believe that the driver was doing it intentionally
to prevent the scanner from scanning the tractor trailer effectively During the “jolting”
the tractor trailer collided with a concrete beam near the checkpoint At that point, CBP
Officers had a mobile X-ray unit scan the tractor trailer. An X-ray of the trailer revealed
what appeared to be anomalies on the driver’s side of the cabin A narcotics detection
dog was deployed and alerted to the presence of the odor of narcotics in the interior of the
cabin walls, just behind the driver’s seat. The K-9 CBP Officer removed a vent in the
area where the dog had alerted and immediately observed multiple rectangular “bricks”
wrapped in black tape.

CBP officers removed approximately 60 packages from the interior walls of the tractor
cabin The total weight of the packages was 75.14 kilograms One of the “bricks” was
cut open and a white powdery substance which tested positive for the properties of
cocaine was extracted

Homeland Security Investigations (HSI) Special Agent (SA) Jesus Palomo advised
BAUTISTA of his Miranda warnings in the Spanish language, which he stated he
understood and waived in writing ' ' " 7

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Post l\/liranda, BAUTISTA stated that he was contracted by “Beli”, a coordinator for the
“MEL-HER” trucking company, to drop an empty trailer off just north of the Progreso
POE of entry. During the interview, BAUTISTA gave several different versions of how
he was contracted to transport the empty trailer to the United States SA Palomo
explained to BAUTISTA that it would be in his best interest to be honest and cooperate
Several times during the interview, BAUTISTA stated, “lf l give you information, how
can you help me.”

During the interview, SA Palomo asked BAUTISTA about how he was hired and who his
employers were BAUTISTA was unable to provide basic information about his
employment He was not able to give his supervisor’s name, fellow employee’s names
and stated that he only knew nicknames for everyone employed at “MEL-HER” . The
name “Beli” that he provided during the interview was the nickname of the coordinator
that had him transport the trailer to the United States. Several times SA Palomo asked
BAUTISTA if he was concealing information about operations conducted by “l\/lEL-
HER" and several times BAUTISTA did not reply and just remained quiet BAUTISTA
never denied the fact that he was concealing information about the individuals that asked
him to transport the empty trailer.

BAUTISTA displayed nervous signs throughout the interview and became extremely
nervous every time SA Palomo asked him about his coordinator BAUTISTA would
look at SA Palomo and then he would look down, He continuously rubbed his hands
together and sighed as if he wanted to speak, but would then rub his face and hair and
then hang his shoulders and look down. BAUTISTA would continuously ask how SA
Palomo could help him if he provided information

HSI SA Palomo placed BAUTISTA under arrest for violations of 21 USC sections
84land 952.

